         Case 6:19-ap-01159-WJ                     Doc 4
                                                       2 Filed 11/19/19
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                                                    AP-Summons
                                                         Document Page
                                                                     Page1 1ofof4 4


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Rafael R Garcia−Salgado
Shulman Bastian, LLP
100 Spectrum Drive
Suite 600
Irvine, CA 92618
949−340−3400




Plaintiff or Attorney for Plaintiff

                                          UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA − RIVERSIDE
In re:

                                                                              CASE NO.:    6:19−bk−17739−WJ

Tranaya Watson LLC                                                            CHAPTER:     7


                                                                              ADVERSARY NUMBER:         6:19−ap−01159−WJ
                                                               Debtor(s).

Lynda T. Bui


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
TPH OC, LLC                                                                          PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
12/16/2019. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                February 6, 2020
             Time:                10:30 AM
             Hearing Judge:       Wayne E. Johnson
             Location:            3420 Twelfth St., Crtrm 304, Riverside, CA 92501



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
       Case 6:19-ap-01159-WJ                      Doc 4
                                                      2 Filed 11/19/19
                                                              11/14/19 Entered 11/19/19
                                                                                   11/14/19 10:55:31
                                                                                            14:21:33                                     Desc
                                                  Main
                                                   AP-Summons
                                                        Document Page
                                                                    Page2 2ofof4 4


You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: November 14, 2019




                                                                                        By:        "s/" Yvonne Gooch
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
       Case 6:19-ap-01159-WJ                       Doc 4
                                                       2 Filed 11/19/19
                                                               11/14/19 Entered 11/19/19
                                                                                    11/14/19 10:55:31
                                                                                             14:21:33                                     Desc
                                                   Main
                                                    AP-Summons
                                                         Document Page
                                                                     Page3 3ofof4 4



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Lynda T. Bui                                                                 TPH OC, LLC
                                                                             BPRD Trading LLC




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
         Case 6:19-ap-01159-WJ                   Doc 4 Filed 11/19/19 Entered 11/19/19 10:55:31                                     Desc
                                                 Main Document     Page 4 of 4



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100 Spectrum
Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): SUMMONS AND NOTICE OF STATUS CONFERENCE IN
ADVERSARY PROCEEDING [LBR 7004-1] AND COMPLAINT will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and
LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) November 19, 2019, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

CHAPTER 7 TRUSTEE/PLAINTIFF: Lynda T. Bui (TR) trustee.bui@shulmanbastian.com, C115@ecfcbis.com
COUNSEL FOR CHAPTER 7 TRUSTEE/PLAINTIFF: Rafael R Garcia-Salgado rgarcia@shulmanbastian.com,
lgillen@shulmanbastian.com
INTERESTED PARTY: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                              Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) November 19, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

 Judge's Copy                                      Defendant – Agent for Service of                    Defendant
 The Honorable Wayne Johnson                       Process                                             BPRD Trading, LLC
 U.S. Bankruptcy Court                             BPRD Trading, LLC                                   714 Traction Avenue, Los Angeles,
 3420 Twelfth Street, Suite 385                    c/o Sean Brennan, Agent                             CA 90013
 Riverside, CA 92501                               2935 E Chevy Chase Drive
                                                   Glendale, CA 91206
 Defendant – Agent for Service of                  Defendant                                           Counsel for Defendant TPH OC,
 Process                                           TPH OC, LLC                                         LLC
 TPH OC, LLC                                       1300 Factory Pl #205                                David B. Zolkin, Esq.
 c/o The Corporation Trust Company                 Los Angeles, CA 90013                               Zolkin Talerico LLP
 Corporation Trust Center                                                                              12121 Wilshire Blvd., Suite 1120
 1209 Orange Street                                                                                    Los Angeles, CA 90025
 Wilmington, DE 19801
                                                                                              Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                              Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  November 19, 2019                        Lauren Gillen                                         /s/ Lauren Gillen
  Date                                     Printed Name                                          Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
